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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.2
                                 Eastern Division

Industry Xperience, LLC
                                   Plaintiff,
v.                                                      Case No.: 1:19−cv−06724
                                                        Honorable Jorge L. Alonso
The Dance Xperience
                                   Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, May 13, 2020:


         MINUTE entry before the Honorable Robert M. Dow, Jr: Upon review of the
parties' joint status report, the Court adopts the parties' joint request that the Court
continue the May 14, 2020 to May 22, 2020 at 10:00 a.m. The status hearing on May 22
be stricken if the parties submit a motion to dismiss the matter with prejudice before that
date. Mailed notice(cdh, )




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